Case 1:17-cr-00232-EGS Document 98-4 Filed 07/11/19 Page 1 of 1
EE

From: "Kelner, Robert" <rkelner@cov.com>

To: kverderame@ponderaintermnational.com

Cc: "Smith, Brian" <bdsmith@cov.com>, "Anthony, Stephen" <santhony@cov.com>,
"Langton, Alexandra" <alangton@cov.com>

Date: Tue, 07 Mar 2017 23:04:11 -0500

Attachments: image001.png (2.66 kB)
_—————— a eS eS

They are working late at the FARA Unit.
Sent from my iPhone

Begin forwarded message:

From: "Hunt, Heather H. (NSD)" <Heather.Hunt@usdoj.gov>
Date: March 7, 2017 at 10:50:18 PM EST
>

To: "Smith, Brian" <bdsmith@cov.com:
Cc: "Kelner, Robert" <rkelner@oov.com>
Subject: RE: Flynn Intel Group, Inc.

Brian —

Thank you for your email. This is to advise you that we are in receipt of the FARA filing for Flynn Intel

Group, Inc. (6:02pm on March 7, 2017). We will process the filing as quickly as possible, including your
a to redact residential addresses and your request to include Rob Kelner’s cover letter as part of the

public file.

Please contact me if you have any questions or concerns.

Thank you,

Heather

Heather H. Hunt

Chief, FARA Registration Unit
Counterintelligence and Export Control Section
National Security Division

U.S. Department of Justice

Washington, DC 20530

(202) 233-0776/0777

heather.hun j.Gov
